     Case 2:14-cr-00168-TOR            ECF No. 1513         filed 03/01/16      PageID.7887 Page 1 of 2
PROB 12C                                                                            Report Date: February 29, 2016
(7/93)

                                       United States District Court                                FILED IN THE
                                                                                               U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                          Mar 01, 2016
                                           Eastern District of Washington                     SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jered Pederson                            Case Number: 2:14CR00168-TOR-5
 Address of Offender:                         Spokane, Washington 99223
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Date of Original Sentence: October 20, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1344
 Original Sentence:       Prison - 1 day                     Type of Supervision: Supervised Release
                          TSR - 36 day
 Asst. U.S. Attorney:     George J. C. Jacobs, III           Date Supervision Commenced: October 20, 2015
 Defense Attorney:        Phillip Wetzel                    Date Supervision Expires: October 19, 2018

                                           PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Special Condition # 15: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: Jered Pederson violated the terms of his supervised release in
                        Spokane, Washington, on or about February 24, 2016, by failing to submit to a random
                        urinalysis test at Alcohol Drug Education Prevention and Treatment (ADEPT).
           2            Special Condition # 21: You shall reside in a residential reentry center (RRC) for a period
                        of up to 180 days. Your participation in the programs offered by the RRC are limited to
                        employment, education, treatment, and religious services at the direction of your supervising
                        officer. You shall abide by the rules and requirements of the facility.

                        Supporting Evidence: Jered Pederson violated the terms of his supervised release in
                        Spokane, Washington, on or about February 26, 2016, by absconding from the RRC.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.
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Prob12C
Re: Pederson, Jered
February 29, 2016
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                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                    Executed on:     02/29/2016
                                                                     s/Melissa Hanson
                                                                     Melissa Hanson
                                                                     U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ 9]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                     Signature
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                                                                                             Officer

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                                                                     Date
